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                       IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
MICHAELA KANE                          :
51 Nightingale Lane                    :
Levittown, PA 19054                    :    CIVIL ACTION
                                       :
              Plaintiff,               :    DOCKET NO.:
       v.                              :
                                       :
ABIRA MEDICAL LABORATORIES,            :
LLC d/b/a GENESIS DIAGNOSTICS          :
900 Town Center Drive, Suite H50       :    JURY TRIAL DEMANDED
Langhorne, PA 19047                    :
                                       :
              Defendant.               :
____________________________________:


                                       CIVIL ACTION COMPLAINT

         Michaela Kane (hereinafter referred to as “Plaintiff,” unless indicated otherwise), by and

through her undersigned counsel, hereby avers as follows:

                                                INTRODUCTION

         1.       This action has been initiated by Plaintiff against Abira Medical Laboratories, LLC

d/b/a Genesis Diagnostics (hereinafter referred to as “Defendant”) for violations of Title VII of

the Civil Rights Act of 1964 (“Title VII” - 42 U.S.C. §§ 2000d et. seq.), the Americans with

Disabilities Act, as amended (“ADA” - 42 USC §§ 12101 et. seq.), and the Pennsylvania Human

Relations Act (“PHRA”).1 Plaintiff asserts, inter alia, that she was discriminated and retaliated

against and unlawfully terminated by Defendant. As a direct consequence of Defendant’s unlawful

actions, Plaintiff seeks damages as set forth herein.


1
  Plaintiff’s claims under the PHRA are referenced herein for notice purposes. She is required to wait 1 full year before
initiating a lawsuit from date of dual-filing with the EEOC. Plaintiff must however file her lawsuit in advance of same
because of the date of issuance of her federal right-to-sue-letter under Title VII and the ADA. Plaintiff’s PHRA claims
however will mirror identically her federal claims under Title VII and the ADA.
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                                   JURISDICTION AND VENUE

        2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks

redress for violations of federal laws. There lies supplemental jurisdiction over Plaintiff's state-

law claims because they arise out of the same common nucleus of operative facts as Plaintiff’s

federal claims asserted herein.

        3.       This Court may properly assert personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.

310 (1945), and its progeny.

        4.       Pursuant to 28 U.S.C. § 1392(b)(1) and (b)(2), venue is properly laid in this district

because Defendant is deemed to reside where it is subjected to personal jurisdiction, rendering

Defendant a resident of the Eastern District of Pennsylvania.

        5.       Plaintiff filed a Charge of discrimination and retaliation with the Equal

Employment Opportunity Commission (“EEOC”) and also dual-filed said charge with the

Pennsylvania Human Relations Commission (“PHRC”). Plaintiff has properly exhausted her

administrative proceedings before initiating this action by timely filing her Charge with the EEOC,

and by filing the instant lawsuit within 90 days of receiving a right-to-sue letter from the EEOC.

                                               PARTIES

        6.       The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        7.       Plaintiff is an adult individual, with an address as set forth in the caption.



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        8.       Abira Medical Laboratories, LLC d/b/a Genesis Diagnostics provides professional

analytic and diagnostic services for the medical profession, with an address set forth in the above

caption.

        9.       At all times relevant herein, Defendant acted by and through its agents, servants

and/or employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

                                    FACTUAL BACKGROUND

        10.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        11.      Plaintiff is an adult female.

        12.      Plaintiff was hired to work for Defendant in or about February of 2018.

        13.      While Plaintiff was originally hired to work for Defendant as a scanner (wherein

she was charged with scanning records into the system), her position changed quite often. Plaintiff

was moved from billing, to customer service, to the laboratory manager’s assistant.

        14.      In Plaintiff’s role as assistant to the laboratory manager, she was primarily

performing the role of a laboratory accessioner. Plaintiff was informed that she was being placed

into this position because they were understaffed but that she would be transferred back to

molecular lab manager’s assistant once things settled down; however, this never happened.

        15.      Plaintiff instead performed the work of a laboratory accessioner from in or about

February/March of 2020 until her unlawful termination in or about July of 2020.

        16.      During her tenure with Defendant, Plaintiff was a hard-working employee who

performed her job well.

        17.      Upon Plaintiff’s observations and personal experiences, Defendant’s management

and other employees favored male employees and exhibited discriminatory animus towards
                                                   3
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Plaintiff and other female employees, thus creating a very gender-biased workplace. For example,

but not intended to be an exhaustive list:

             a. Unlike Plaintiff’s male co-workers, Defendant’s owner, Alan Miller (hereinafter

                “Miller”) treated female employees in a very degrading and condescending manner,

                and regularly talked down to them;

             b. Unlike Plaintiff’s male co-workers, Defendant’s owner/management selectively

                enforced policies against Plaintiff and other female employees;

             c. On at least one occasion, Miller referred to female employee as a “dog”;

             d. Plaintiff and other female employees were regularly assigned to various different

                positions within Defendant without proper training or experience;

             e. Men were not nearly moved around as much as women. In fact, the one male

                Plaintiff believes was moved to a different position was an employee named Matt

                (last name unknown, hereinafter “Matt”) because he asked for his position to be

                changed; and

             f. Male employees were able to keep their same positions, despite Defendant being

                understaffed.

       18.      In addition to the foregoing instances of gender discrimination and disparate

treatment that Plaintiff observed/personally experienced, Plaintiff was often asked to work

overtime (sometimes 7 days a week).

       19.      The aforesaid overtime that Plaintiff was often asked to work was not mandatory

and, while she would pick up a few hours here and there upon request, she often times expressed

to Miller that she was unable to work 7 days a week because of her mental health and/or that it

wasn’t good for her mental health to work that number of hours.



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        20.      In response to Plaintiff’s concerns that she was unable to work 7 days per week

because of her mental health, Miller would make discriminatory comments to other employees

about Plaintiff as a result, including but not limited to stating “she is fucking crazy,” “she has

issues,” “she is neurotic,” and “we need to figure out how to get rid of her.”

        21.      Thereafter, Miller and Defendant’s other management, including but not limited to

Dawn Dario (hereinafter “Dario”) would (presumably at the direction of Miller) constantly harass

Plaintiff and look for reasons to terminate her employment. For example, but not intended to be

an exhaustive list:

              a. Plaintiff was constantly followed around and monitored in Defendant’s facility; and

              b. Plaintiff was even questioned on several occasions as to why she had spoken to

                 someone for a certain number of minutes (as if her conversations were being timed

                 by Defendant’s management).

        22.      Plaintiff was abruptly and without warning terminated in or about July of 2020.

Plaintiff was not provided with a reason for her termination, but was just simply told that three

employees, Dario, Miller, Mike agreed that she should not return to work.

        23.      Plaintiff believes and avers that she was really subjected to a hostile work

environment and terminated because of her gender and for reasons directly related to Defendant’s

management’s perception that she suffered from disabilities and therefore was unable to perform

the duties of her position, which is completely false and discriminatory.

                                              COUNT I
                Violations of Title VII of the Civil Rights Act of 1964 (“Title VII”)
                  ([1] Gender Discrimination and [2] Hostile Work Environment

        24.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.



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        25.    During Plaintiff’s employment with Defendant, she was subjected to discrimination

and a hostile work environment through disparate treatment, pretextual admonishment, and

demeaning and/or derogatory treatment because of her gender (discussed supra).

        26.    Plaintiff was abruptly terminated in or about July of 2020, because at least two male

employees did not want her to work for Defendant.

        27.    Plaintiff believes and therefore avers that she was really subjected to a hostile work

environment and terminated because of her gender.

        28.    Defendant’s actions as aforesaid constitute unlawful discrimination and a hostile

work environment in violation of Title VII.

                                        COUNT II
                 Violations of the Americans with Disabilities Act “ADA”
([1] Perceived Disability Discrimination; [2] Hostile Work Environment; and [3] Retaliation)

        29.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        30.    Despite the fact that Plaintiff was fully capable of performing her job duties,

Defendant terminated her employment.

        31.    Upon Plaintiff’s information and belief, Defendant’s owner, Miller, made several

discriminatory comments regarding Plaintiff and how he perceived her to have mental disabilities

(discussed supra) and therefore incapable of performing the duties of her job.

        32.    Following Plaintiff’s request to refrain from having to work 7 days per week

because of her mental health and/or that it wasn’t good for her mental health to work that number

of hours, Defendant’s owner commented to Plaintiff’s co-workers that “we need to figure out how

to get rid of her [Plaintiff],” and then abruptly terminated her thereafter.




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         33.       Plaintiff believes and therefore avers that she was terminated by Defendant because

Defendant’s management perceived her to be disabled and in retaliation for her requests to refrain

from working 7 days per week because it would negatively impact her mental health.2

         34.       These actions as aforesaid constitute violations of the ADA.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

         A.        Defendant is to promulgate and adhere to a policy prohibiting discrimination and

retaliation in the future against any employee(s);

         B.        Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s

illegal actions, including but not limited to back pay, front pay, salary, pay increases, bonuses,

insurance, benefits, training, promotions, reinstatement and seniority;

         C.        Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,

deliberate, malicious and outrageous conduct and to deter Defendant or other employers from

engaging in such misconduct in the future;




2
  See Deane v. Pocono Medical Center, 142 F.3d 138, 144 (3d Cir. 1998) (“[E]ven an innocent misperception based on
nothing more than a simple mistake of fact as to the severity, or even the very existence, of an individual’s impairment can be
sufficient to satisfy the statutory definition of a perceived disability.”); see also Buskirk v. Apollo Metals, 307 F.3d 160, 167
(3d Cir. 2002) (“[T]he analysis ‘focuses not on [the plaintiff] and his actual disabilities, but rather on the reactions and
perceptions of the persons interacting or working with him’” (quoting Kelly v. Drexel Univ., 94 F.3d 102, 108-09 (3d Cir.
1996))); Showers v. Endoscopy Center of Central Pennsylvania, LLC, 58 F.Supp.3d 446, 462 (M.D. Pa. 2014) (emphasis
added) (“A claim that an employer regarded an employee as disabled focuses on the ‘reactions and perceptions’ of the
employer; the employee need not have an actual impairment to state a disability discrimination claim”) (emphasis added)
(citation omitted).



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       D.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper and appropriate (including but not limited to damages for emotional distress, pain, suffering

and humiliation); and

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

       F.      Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.



                                                     Respectfully submitted,

                                                     KARPF, KARPF & CERUTTI, P.C.

                                              By:    _______________________________
                                                     Ari R. Karpf, Esq.
                                                     3331 Street Rd.
                                                     Two Greenwood Square, Suite 128
                                                     Bensalem, PA 19020
                                                     (215) 639-0801



Dated: September 28, 2020




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                 VLOULOMOM
                            Case 2:20-cv-04752-CMR
                                                UNITEDDocument  1 Filed
                                                      STATES DISTRICT    09/28/20 Page 10 of 11
                                                                      COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

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Address of Plaintiff: ______________________________________________________________________________________________

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Address of Defendant: ____________________________________________________________________________________________

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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           VLOULOMOM
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


           VLOULOMOM
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
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JS 44 (Rev. 06/17)                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                            DEFENDANTS
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                                                                                                             dbkbpfp=af^dklpqf`p
    (b) County of Residence of First Listed Plaintiff                   _ìÅâë                                  County of Residence of First Listed Defendant                 _ìÅâë
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif                                    f
                                                                                                          (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3      Federal Question                                                                     PTF           DEF                                            PTF      DEF
          Plaintiff                               (U.S. Government Not a Party)                      Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                              of Business In This State

❒ 2    U.S. Government                    ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                   Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                   TORTS                            FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                          PERSONAL INJURY                PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                        ’    310 Airplane                 ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                    ’    315 Airplane Product               Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument                   Liability               ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment       ’    320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment               Slander                       Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                  ’    330 Federal Employers’             Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                   Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                 ’    340 Marine                         Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)           ’    345 Marine Product                 Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                 Liability                PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits         ’    350 Motor Vehicle            ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits           ’    355 Motor Vehicle            ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                         Product Liability        ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability    ’    360 Other Personal                 Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                              Injury                   ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                      ’    362 Personal Injury -              Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                               Medical Malpractice                                           Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                        CIVIL RIGHTS                PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation             ❒    440 Other Civil Rights         Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                   ❒    441 Voting                   ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ñ❒    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                 ❒    443 Housing/                       Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                 Accommodations           ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property       ❒    445 Amer. w/Disabilities -   ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                               Employment                 Other:                     ❒ 462 Naturalization Application
                                      ❒    446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                               Other                    ❒ 550 Civil Rights                 Actions
                                      ❒    448 Education                ❒ 555 Prison Condition
                                                                        ❒ 560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                             ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                           Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                             (specify)                      Transfer                         Direct File
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                             qáíäÉ=sff=EQOrp`OMMMFX=^a^=EQOrp`NONMNF
VI. CAUSE OF ACTION Brief description of cause:
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VII. REQUESTED IN     ❒                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                                               JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                             JUDGE                                                                   DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
            VLOULOMOM
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                        APPLYING IFP                                   JUDGE                               MAG. JUDGE

                  Print                                  Save As...                                                                                                                   Reset
